Case 21-03020-sgj Doc 30-4 Filed 04/19/21   Entered 04/19/21 16:38:34   Page 1 of 4




                        EXHIBIT 3




                                                                           UBS059
           Case 21-03020-sgj Doc 30-4 Filed 04/19/21             Entered 04/19/21 16:38:34            Page 2 of 4




From:                              Clay Taylor <clay.taylor@bondsellis.com>
Sent:                              Monday, April 5, 2021 5:23 PM
To:                                Allen, Robert (CC)
Cc:                                Michael Lynn; John Bonds; Bryan Assink; Clubok, Andrew (DC); Wine, Jamie (NY);
                                   Tomkowiak, Sarah (DC); Posin, Kimberly (LA); Bjork, Jeff (LA); George, Katie (CH); Proulx,
                                   Zachary (NY); Attarwala, Asif (CH); McLaughlin, Shannon (NY); Parvis, Elizabeth (NY);
                                   Anikwe, Uchenna (DC)
Subject:                           RE: Notices and Subpoenas to Mr. James Dondero


Robert,

I have not been authorized to accept service of subpoenas related to this suit.

Clay M. Taylor
Bonds Ellis Eppich Schafer Jones LLP
420 Throckmorton St. | Suite 1000 | Fort Worth, Texas 76102
cell 214.663.5988 | office 817.779.4300 | fax 817.405.6902
Clay.Taylor@bondsellis.com | My Profile

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regulations require that we inform you as follows: Any U.S. federal tax advice contained in this communication (including
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Internal Revenue Code or (ii) promoting, marketing or recommending to another party any transaction or tax-related
matter.

From: Clay Taylor
Sent: Friday, April 2, 2021 10:11 AM
To: 'Robert.Allen@lw.com' <Robert.Allen@lw.com>
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Bryan Assink
<bryan.assink@bondsellis.com>; Andrew.Clubok@lw.com; JAMIE.WINE@lw.com; Sarah.Tomkowiak@lw.com;
Kim.posin@lw.com; Jeff.Bjork@lw.com; kathryn.george@lw.com; Zachary.Proulx@lw.com; Asif.Attarwala@lw.com;
Shannon.McLaughlin@lw.com; Elizabeth.Parvis@lw.com; Uchenna.Anikwe@lw.com
Subject: RE: Notices and Subpoenas to Mr. James Dondero

Robert,

I will respond in due course with a definitive answer. It has been less than 12 hours since you sent the request at 10:30
in the evening last night. It’s also Good Friday today.

I will commit to getting you an answer by close of business on Monday. If I do not get you an answer by then, either
because I can’t get a response from my client or otherwise, please proceed as you have to. Fair enough?

Clay


                                                             1
                                                                                                          UBS060
          Case 21-03020-sgj Doc 30-4 Filed 04/19/21             Entered 04/19/21 16:38:34          Page 3 of 4

From: Robert.Allen@lw.com <Robert.Allen@lw.com>
Sent: Friday, April 2, 2021 10:04 AM
To: Clay Taylor <clay.taylor@bondsellis.com>
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Bryan Assink
<bryan.assink@bondsellis.com>; Andrew.Clubok@lw.com; JAMIE.WINE@lw.com; Sarah.Tomkowiak@lw.com;
Kim.posin@lw.com; Jeff.Bjork@lw.com; kathryn.george@lw.com; Zachary.Proulx@lw.com; Asif.Attarwala@lw.com;
Shannon.McLaughlin@lw.com; Elizabeth.Parvis@lw.com; Uchenna.Anikwe@lw.com
Subject: RE: Notices and Subpoenas to Mr. James Dondero

Clay,

The answer to your rhetorical question is that we do expect and assume that Mr. Dondero would accept service of the
subpoenas by email (although the premises of your question are wrong; the document requests set forth very clear
topics). Just to confirm on our end, though, are you really saying that Mr. Dondero is going to insist that we serve him
with subpoenas in person instead of by email? As you undoubtedly know, accepting service won’t waive any rights you
may have to contest the discovery. Until you say otherwise, we will assume that is what you meant by your question
below, but we hope Mr. Dondero reconsiders his position on service.

Thanks

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100 | Los Angeles, CA 90067
D: +1.424.653.5563

From: Clay Taylor <clay.taylor@bondsellis.com>
Sent: Thursday, April 1, 2021 8:43 PM
To: Allen, Robert (CC) <Robert.Allen@lw.com>
Cc: Michael Lynn <michael.lynn@bondsellis.com>; John Bonds <john@bondsellis.com>; Bryan Assink
<bryan.assink@bondsellis.com>; Clubok, Andrew (DC) <Andrew.Clubok@lw.com>; Wine, Jamie (NY)
<JAMIE.WINE@lw.com>; Tomkowiak, Sarah (DC) <Sarah.Tomkowiak@lw.com>; Posin, Kimberly (LA)
<Kim.posin@lw.com>; Bjork, Jeff (LA) <Jeff.Bjork@lw.com>; George, Katie (CH) <kathryn.george@lw.com>; Proulx,
Zachary (NY) <Zachary.Proulx@lw.com>; Attarwala, Asif (CH) <Asif.Attarwala@lw.com>; McLaughlin, Shannon (NY)
<Shannon.McLaughlin@lw.com>; Parvis, Elizabeth (NY) <Elizabeth.Parvis@lw.com>; Anikwe, Uchenna (DC)
<Uchenna.Anikwe@lw.com>
Subject: Re: Notices and Subpoenas to Mr. James Dondero

Robert,

Just to be sure, I want to confirm.

You want us to accept subpoenas for depos, for less than 2 weeks out, on our client, with no real topics shown, for a
sealed complaint that you won’t share with us despite our request? On topics covered under a lawsuit hat we have
asked about, but told we can’t see?

Just wanted to confirm? Thanks.

Clay

Sent from my iPhone


                                                            2
                                                                                                       UBS061
Case 21-03020-sgj Doc 30-4 Filed 04/19/21            Entered 04/19/21 16:38:34       Page 4 of 4

On Apr 1, 2021, at 10:28 PM, Robert.Allen@lw.com wrote:


Counsel,

Please see the attached notices and subpoenas to Mr. James Dondero. Please confirm whether you are
willing to accept electronic service of these notices and subpoenas.

Best,

Robert E. Allen

LATHAM & WATKINS LLP
10250 Constellation Blvd. Suite 1100
Los Angeles, CA 90067
Direct Dial: +1.424.653.5563
Fax: +1.424.653.5501
Email: robert.allen@lw.com
https://www.lw.com

_________________________________

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<2021 04 01 - Dondero Production Subpoena with Requests.pdf>
<2021 04 01 - Dondero Deposition Subpoena.pdf>
<2021 04 01 - Dondero Notice of Deposition with Topics.pdf>
<2021 04 01 - Dondero Notice of Production Subpoena.pdf>




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